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       ATTACHMENT C
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        Inventory Listing of All Items Seized at Search Warrant Site

  Site Name:                         Investigation Number:        Report Date:
   LINDSEY SPRINGER                   750530384                    Tuesday, September 27,
   Residence                                                       2005
                                     Starting Date and Time:
   25758 South 201 st West            09/16/2005 08:20 AM
   Avenue                            Ending Date and Time:
   Kellyville, OK
                                   09/16/200502:40 PM
  Control #:      1                                             Evidence Box:
  Location:       Master Bedroom (1st)                          Locator Code:
  Found:          Chest of Drawers
  Description:    Seized Per Warrant    Approximately $19,000.00 in U.S. Currency

  Control #:      2                                                Evidence Box:
  Location:       Kitchen 1 Dining                                 Locator Code:
  Found:          Cabinet
  Description:    Seized Per Warrant       Paper Bag containing various cash receipts, copies of money
                                          orders, and copies of cashiers checks.

  Control #:      3                                                Evidence Box:
  Location:       Kitchen 1 Dining                                 Locator Code:
  Found:          Pantry
  Description:    Seized Per Warrant       Copies of Bills,m Money Orders, and Cash Receipts

  Control #:      4                                                Evidence Box:
  Location:       Kitchen 1 Dining                                 Locator Code:
  Found:          1
  Description:                            Not Used

 . Control #:     5                                                Evidence Box:      2
   Location:      Kitchen 1 Dining                                 Locator Code:
   Found:         Cabinet
   Description:   Seized Per Warrant       Receipts and Misc. Records

  Control #:      6                                                Evidence Box:      2
  Location:       Kitchen 1 Dining                                 Locator Code:
  Found:          Counter
  Description:    Seized Per Warrant       Misc. Expenditures Records and and Money Orders

  Control #:      7                                                 Evidence Box:     2
  Location:       Kitchen 1 Dining                                  Locator Code:
  Found:          1
  Description:                            Not Used



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  Control #:      8                                             Evidence Box:      2
  Location:       Master Bedroom (1st)                          Locator Code:
  Found:          Closet and Desk by Hot Tub
  Description:    Seized Per Warrant   Misc. Records

  Control #:      9                                             Evidence Box:
  Location:       Master Bedroom (1st)                          Locator Code:
  Found:          TV Stand and Dresser
  Description:    Seized Per Warrant   Misc. Receipts

  Control #:      10                                            Evidence Box:      2
  Location:       Living Room                                   Locator Code:
  Found:          1
  Description:                         Not Used

  Control #:      11                                            Evidence' Box:     2
  Location:       Living Room                                   Locator Code:
  Found:          Bag By Couch
  Description:    Seized Per Warrant    Mailing Labels and Receipts

  Control #:      12                                            Evidence Box:      2
  Location:       1994 Ford F-150                               Locator Code:
  Found:          Front Seat
  Description:    Seized Per Warrant   Misc.. Receipts

  Control #:     '13                                            Evidence Box:      3
  Location:       2004 Ford F-150                               Locator Code:
  Found:          Cab Area
  Description:    Seized Per Warrant    Documents of Expenses, Purchases and Assets.

  Control #:      14                                                Evidence Box:    3
  Location:       Office in Garage                                  Locator Code:
  Found:          Office Computer Stand
  Description:    Seized Per Warrant    Conterfeit U.S. 10.00 Bill, Compact Discs, Meeting
                                       Instructions, Expenditures Records, Checks, Business Cards,
                                       Diskettes.

 Control #:        15                                          Evidence Box:       3
 Location:        Office in Garage                             Locator Code:
 Found:          '1loxes Stacked Along Wall
 Description:     Seized Per Warrant   Expenditure Recipts and DVD

  Control #:     16                                             Evidence Box:     3
  Location:      Office in Garage                               Locator Code:
  Found:
                 •
                 2-Drawer File Cabinet
  Description:   Seized Per Warrant    Receipts of Expenditures and Jewelry Appraisals

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 Control #:     17                                             Evidence Box:      3
 Location:      Recreational Vehicle                           Locator Code:
 Found:         Front Passenger Seats
 Description:   Seized Per Warrant    Binder with Cash Receipts and Expenditures.

 Control #:     18                                              Evidence Box:        4
 Location:      S. Storage Building                             Locator Code:
 Found:         Inside Storage Building
 Description:   Seized Per Warrant     Letter for payments on Cassette Tapes, Utitility and Expense
                                       Receipts

 Control #:     19                                              Evidence Box:
 Location:      Kitchen I Dining                                Locator Code:
 Found:         Pine Pantry Closet
 Description:   Seized Per Warrant    Image of 30GB Hard Drive (SN - MRGA9C2HL9WTJ) from
                                      Deilinspiron 5100

 Control #:     20                                           Evidence Box:
 Location:      Offir.e io Garage                            Locator Code:
                "..--
 Found:         Underneath Computer Desk
 Description:   Seized Per Warrant  Image of Western Digital 80 GB Hard Drive
                                   (SN-WD800EB-00DJFO) from a T2482 E-Machine.

 Control #:     21                                          Evidence Box:
 Location:      Office in Garage                            Locator Code:
 Found:         Underneath Computer Desk
 Description:   Seized Per Warrant  Image of a Maxtor 30 GB Hard Drive (SN - 93071 U6) from a
                                   T2482 E-Machine.

 Control #:      22                                                Evidence Box:
 Location:      pfficej.n..Gafage                                  Locator Code:
 Found:         'oriaTable in the Office Area
 Description:    Seized Per Warrant     (1) Hitachi Travelstar 40 GB Hard Drive Model
                                       IC25N040ATCS04-0 (SN - CSH405DCJMX86B)




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